                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE


UNITED STATES OF AMERICA,                            )
                                                     )
               Plaintiff,                            )
                                                     )       No. 3:05-CR-128
V.                                                   )       (VARLAN/GUYTON)
                                                     )
JEFF HICKMAN,                                        )
                                                     )
               Defendant.                            )



                               MEMORANDUM AND ORDER

               This matter came before the Court on January 11, 2006, for a status conference.

Special Assistant United States Attorney Brownlow Marsh was present representing the

government. Attorney Patrick Phillips was present representing the defendant, Jeff Hickman.

The defendant Jeff Hickman was also present. Patrick Phillips was appointed on this same date

by the Court to represent the defendant Jeff Hickman.

               Counsel for Jeff Hickman made an oral motion to continue the trial of this matter.

The government stated that it did not oppose the motion to continue the trial date and further, the

government announced that it had filed a superseding indictment and was in the process of

arranging service of the superseding indictment on the defendants in this case. Further, counsel

for the government and counsel for Jeff Hickman advised that they would attempt to discuss

potential new trial dates with counsel for the other defendants and advise the Court if said new

trial date could be reached by agreement. Otherwise, the parties agreed that the new trial date

and the arraignment on the superseding indictment could be conducted at the pretrial conference

on this matter set for January 17, 2006 at 9:30 a.m. The Court advised the parties that the

pretrial conference would be conducted by Magistrate Judge C. Clifford Shirley, Jr. in




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Courtroom 3B.

               Accordingly, the defendant Jeff Hickman’s oral motion to continue the trial date

is GRANTED and the parties are instructed to be prepared for arraignment on the superseding

indictment and for scheduling of the new trial date at the pretrial conference on January 17,

2006 at 9:30 a.m., before Magistrate Judge C. Clifford Shirley, Jr. in courtroom 3B.

               IT IS SO ORDERED.

                                             ENTER:


                                                   s/ H. Bruce Guyton
                                             United States Magistrate Judge




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